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SRW/
05/19/22
01921.01




            UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF OHIO


       BRENT A. WETTLE,                           *     CASE NO.
       11229 Birch Pointe Dr.
                                                                    ----------
       Whitehouse, Ohio 43571                     *

       and                                        *

       HEATHER M. WETTLE,                         *     COMPLAINT WITH JURY DEMAND
       11229 Birch Pointe Dr.                           ENDORSED HEREON
       Whitehouse, Ohio 43571                     *

                PLAINTIFFS,                       *     Spitler & Williams-Young Co., LP.A.
                                                        Marc G. Williams-Young (0009825)
       V.                                         *     Sabrina R. Widman (0092259)
                                                        1000 Adams Street, Suite 200
       UNITED STATES POSTAL SERVICE               *     Toledo, Ohio 43604-7507
       2200 Orange Avenue, Room 212                     (419) 242-1555
       Cleveland, Ohio 44101-9331                 *     (419) 242-8827-fax
                                                        mwilliams-young@spitlerwilliams-young.law
       and/or                                     *     swidman@spitlerwilliams-young.law
                                                        Counsel for Plaintiffs
       UNITED STATES OF AMERICA                   *

       and                                        *

       LINDSEY E. MCDONALD                        *
       608 Continental Blvd.
       Toledo, OH 43607                           *

                DEFENDANTS.                       *

       *        *        *     *      *     *     *     *      *       *       *      *       *     *

                Plaintiffs Brent A. Wettle and Heather M. Wettle, by and through their counsel,
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Spitler & Williams-Young Co., LP.A., Sabrina R. Widman and Marc G. Williams-Young,

state the following for their complaint:

                                NATURE OF THIS ACTION

       1.     This case is brought by plaintiffs Brent A. Wettle and Heather M. Wettle

against defendants the United States Postal Service and/or the United States of America

and Lindsey E. McDonald. This case results from the negligent conduct of Ms. McDonald,

an employee of the United States Postal Service, while she was acting within the scope

of her official duties and employment by operating a federally owned vehicle at the

intersection of Angola Road and Meilke Road in Spencer Township in Lucas County, Ohio.

Plaintiffs seek redress against defendants for the damages they suffered by reason of such

conduct.

                                      JURISDICTION

       2.     The United States District Court for the Northern District of Ohio has original

jurisdiction, pursuant to the Federal Tort Claims Act, over plaintiffs' federal claims or

causes of action. The conduct of the federal actors about which plaintiffs complain

represent either conduct or an omission which would be actionable were it between private

parties. The actions about which plaintiffs complain were conducted by Lindsey E.

McDonald, a federal employee of the United States Postal Service, while she was acting

in the scope of her employment and official duties.

                                 PROCEDURAL HISTORY

       3.     On or about June 21, 2021, plaintiff Brent A. Wettle (hereinafter 'plaintiff')

timely filed an administrative tort claim with defendant United States Postal Service,



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pursuant to the Federal Tort Claims Act, by way of a Form SF 95 - Claim for Damage,

Injury or Death.

       4.     Plaintiff's administrative tort claim (hereinafter 'claim') was assigned USPS

File No. TC2021 43768 and Case Number 440-19-004426438.

       5.     By letter dated December 27, 2021, defendant United States Postal Service

denied plaintiff's claim.

       6.     Due to that final denial, plaintiff timely files this lawsuit.

                                           COUNTI

       7.     Plaintiff Brent A. Wettle and Plaintiff Heather M. Wettle were at all times

mentioned, and remain, husband and wife. They are residents of Lucas County, Ohio; a

county within the Federal Northern District of Ohio.

       8.     Defendant the United States Postal Service is an independent establishment

of the executive branch of the United States government which, on or about June 22, 2019,

was the owner of a 1992 Grumman mail vehicle with VIN 1GBCS10A1N2919057 and

bearing Ohio license plate number 2211561.

       9.     On or about June 22, 2019, at approximately 12:12 p.m., defendant the

United States Postal Service and/or the United States of America's Grumman mail vehicle

was being operated by its employee, Lindsey E. McDonald (hereinafter 'defendant-

employee'), in and about Lucas County, Ohio.

       10.    On or about June 22, 2019, plaintiff was driving his automobile approximately

westbound on Angola Road in Spencer Township, Lucas County, Ohio.

       11.    On or about June 22, 2019, defendant-employee was driving the Grumman

mail vehicle approximately southbound on Meilke Road in Spencer Township, Lucas

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County, Ohio.

       12.      At the intersection of Angola Road and Meilke road, defendant-employee's

travel was controlled by a stop sign requiring that she stop and yield the right-of-way before

entering the intersection.

       13.      Defendant-employee proceeded into said intersection, and as she did so,

plaintiffs vehicle was either in the intersection or approaching the intersection so closely

as to constitute an immediate hazard during the time defendant-employee entered the

intersection.

       14.      Defendant-employee proceeded into said intersection directly into the path

and/or lane of travel of plaintiffs automobile and a collision occurred between the two

vehicles.

       15.      Defendant-employee failed to yield the right-of-way in violation of Section

4511.43, Ohio Revised Code.

       16.      Said collision was caused solely by the per se negligence of defendant-

employee in failing to operate her motor vehicle to give the right of way to plaintiffs motor

vehicle, as required by the foregoing statutory provision.

       17.      As a direct or proximate result of the collision and defendant-employee's

negligence, plaintiff sustained serious, lasting and/or permanent injuries.

       18.      Plaintiff has, as a direct or proximate result of said injuries, been required to

undergo extensive medical treatment and has incurred substantial medical, hospital, and/or

pharmaceutical expenses to date and/or will incur substantial, medical, hospital and/or

pharmaceutical expenses in the future.

       19.      Plaintiff has further, as a direct or proximate result of said injuries, endured

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great pain, suffering, anxiety, loss of full enjoyment of life and mental anguish and/or will

continue to endure such pain, suffering, anxiety, loss of full enjoyment of life and mental

anguish.

       20.    Plaintiff has further, as a direct or proximate result of the collision incurred

expenses and costs related to the damage to his vehicle.

       21.    The collision and injuries resulting to plaintiff were caused without any

negligence on the part of the plaintiff contributing thereto.

                                         COUNT II

       22.    Plaintiffs restate paragraphs one (1) through twenty-one (21) as if fully

rewritten herein.

       23.    Defendant-employee owed the plaintiff a duty of care to reasonably

apprehend, observe and heed the road and traffic conditions then and there existing and

to exercise due and proper care and diligence to avoid said accident and collision.

       24.    Said collision was caused solely by the negligence of defendant-employee

in failing to reasonably apprehend, observe and heed the road and traffic conditions then

and there existing and in failing to exercise due and proper care and diligence to avoid said

accident and collision.

       25.    As a direct or proximate of said negligence, plaintiff sustained the injuries

and damages as above outlined.

                                         COUNT Ill

       26.    Plaintiffs restate paragraphs one (1) through twenty-five (25) as if fully

rewritten herein.



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       27.    Defendant the United States Postal Service and/or the United States of

America is vicariously liable to plaintiff for the injuries sustained on the theory of

respondeat superior as the employer of the defendant-employee who acted negligently as

above outlined.

       28.    As a direct or proximate result of the collision and defendant-employee's

negligence, plaintiff sustained the injuries and damages above outlined for which

defendant the United States Postal Service and/or the United States of America is liable.

                                          COUNT IV

       29.    Plaintiffs restate paragraphs one (1) through twenty-eight (28) as if fully

rewritten herein.

       30.    Plaintiff Heather M. Wettle, as a result of the injuries to plaintiff, has and will

continue to be deprived of the normal services, society, counsel, love and consortia which

she would have enjoyed but for the collision and injuries to plaintiff.

       31.    Such injuries and losses incurred by plaintiff Heather M. Wettle are a direct

or proximate result of defendant-employee's conduct as above outlined.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs Brent A. Wettle and Heather M. Wettle demand judgment

against Defendants the United States Postal Service and/or the United States of America

and Lindsey E. McDonald in an amount in excess of Twenty-Five Thousand Dollars

($25,000.00) in compensatory and special damages; and further request attorney fees,

costs, and such other and further relief as this court shall deem fair, necessary, proper and

equitable.



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Respectfully submitted,

Spitler & Williams-Young Co., LP.A.


By   ~j'lbt/i:t,1?- ~//<-----
       Sabrina R. Widman




                                         JURY DEMAND

       Plaintiffs Brent A. Wettle and Heather M. Wettle respectfully request a trial by a jury

of eight (8) on all issues so triable.

Respectfully requested ,

Spitler & Williams-Young Co., L. P.A.


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       Sabrina R. Widman




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